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1                              UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3                                                 ***

4     KEISHAWN CRANFORD,                                   Case No. 3:21-CV-00386-RCJ-CLB
5                                        Plaintiffs,    ORDER RE: VIOLATION OF GENERAL
                                                                 ORDER 2021-5
6              v.
                                                                    [ECF Nos. 58, 60]
7     STATE OF NEVADA, et al.,
8                                     Defendants.
9           On October 13, 2021, this Court entered General Order No. 2021-05 (“GO 2021-
10   05”), setting forth certain requirements and limitations for filings in Pro Se Inmate Non-
11   Habeas Civil Rights cases. GO 2021-05 § 3(e) expressly states that:

12
            Declarations, affidavits and exhibits are to be filed only as attachments in
13          support of a motion, a response to a motion, or a reply in support of a
            motion. Declarations, affidavits, and exhibits that are not filed in support a
14          motion, a response to a motion, or a reply to a motion may not be filed.
15
     Id. at 4-5. On May 24, 2023, Plaintiff filed a document entitled “Declaration for Entry of
16
     Default,” which was not attached to any motion, response, or reply in violation of GO
17
     2021-5 § 3(e). (ECF No. 58.) Therefore, this document, (ECF No. 58), is stricken from the
18
     record.
19
            Despite Plaintiff’s declaration being filed in violation of GO 2021-5, Defendants
20
     improperly filed a “response” to this document. (ECF No. 60.) Therefore, this document,
21
     (ECF No. 60), is also stricken from the record.
22
            Both parties are reminded that they are required to follow all the Court’s Orders,
23
     the Local Rules for the District of Nevada, and Rules of Civil Procedure in all filings in this
24
     case in the future. Improperly filed documents will be stricken from the record.
25
            IT IS SO ORDERED.
26                  June 8, 2023
            DATED: ______________.
27

28                                               UNITED STATES MAGISTRATE JUDGE
